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EXHIBIT C

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER; BRYAN AND
CHRISTY REHM; DEBORAH
FENIMORE AND JOEL LIEB; STEVEN
STOUGH; BETH EVELAND; CYNTHIA
SNEATH; JULIE SMITH; AND ARALENE
(“BARRIE”) D. AND FREDERICK B.
CALLAHAN,

Plaintiffs,

V.

DOVER AREA SCHOOL DISTRICT;
DOVER AREA SCHOOL DISTRICT
BOARD OF DIRECTORS,

Defendants.

 

 

PLAINTIFFS’ COUNSEL’S STATEMENT REGARDING

Civil Action No. 04-CV-2688

Honorable John E. Jones

I

Plaintiffs’ Counsel’s Statement
Regarding Settlement Authority

SETTLEMENT AUTHORITY

The undersigned certifies that the persons with settlement authority on

behalf of plaintiffs Tammy Kitzmiller; Bryan and Christy Rehm; Deborah

Fenimore and Joel Lieb; Steven Stough; Beth Eveland; Cynthia Sneath; Julie

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Smith; and Aralene (“Barrie”) D. and Frederick B. Callahan have been advised of

the requirements of and possible sanctions under Local Rule 16.2.

s/___ Eric Rothschild

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Dated: August 24, 2005

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ARALENE (“BARRIE”) D. AND
FREDERICK B. CALLAHAN

 
